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                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

RICHARD COOEY, et al.,

                 Plaintiffs,                                 Case No. 2:04-cv-1156
                                                             JUDGE GREGORY L. FROST
        v.                                                   Magistrate Judge Mark R. Abel

ROBERT TAFT, et al.,

                 Defendants.

                                         OPINION AND ORDER

        This matter is before the Court for consideration of an emergency motion to intervene

(Doc. # 65-1) filed by Jeffrey Lundgren, Defendants’ memorandum in opposition (Doc. # 69),

and Lundgren’s reply (Doc. # 71). For the reasons that follow, the Court DENIES WITHOUT

PREJUDICE the motion to intervene.

                                                I. Discussion

        Richard Cooey, a state prisoner sentenced to death by the State of Ohio, is the original

plaintiff in the captioned civil rights action pending before this Court that challenges multiple

facets of the lethal injection protocol used by the State of Ohio. On November 23, 2005, John R.

Hicks was permitted to intervene in the action.1 (Doc. # 26.) On January 9, 2006, Jeffrey D. Hill

was permitted to intervene in the action. (Doc. # 35.) On June 16, 2006, Johnnie Baston and

Arthur Tyler were permitted to intervene in the action. (Doc. # 54.) On September 1, 2006,

Jeffrey Lundgren filed an emergency motion to intervene. (Doc. # 65-1.)

        The original complaint alleges that Ohio’s lethal injection protocol risks torturing a



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                 Hicks thereafter was dismissed as a plaintiff on January 4, 2006, following his November 29, 2005
execution. (Doc. # 34.)
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conscious inmate to death by suffocation. Defendants oppose Lundgren’s motion to intervene,

not only on the basis of his failure to exhaust administrative remedies, but also because, in

Defendants’ view, Lundgren is attempting to circumvent rules governing class actions and

Lundgren’s obesity, diabetes, and hypertension present unique medical problems not accounted

for by the current protocol. (Doc. # 69, at 3, 6.) Regarding Defendants’ exhaustion argument,

the record before this Court does not reflect that Lundgren, before attempting to intervene in this

action, exhausted his administrative remedies by filing a grievance challenging the lethal

injection protocol. However, Lundgren avers in his reply that “[s]teps are being taken to exhaust

those remedies ....” (Doc. # 71, at 2.)

       The Prison Litigation Reform Act (“PLRA”) provides in relevant part that:

       No action shall be brought with respect to prison conditions under section 1983 of
       this title, or any other Federal law, by a prisoner confined in any jail, prison, or
       other correctional facility until such administrative remedies as are available are
       exhausted.

42 U.S.C. § 1997e(a). The Sixth Circuit has explained that “[t]he Act was passed to reduce

frivolous prisoner lawsuits and to reduce the intervention of federal courts into the management

of the nation’s prison systems.” Freeman v. Francis, 196 F.3d 641, 643 (6th Cir. 1999).

       It is now well settled that complete exhaustion of administrative remedies, while not

jurisdictional, is a mandatory pre-condition to the filing of an action in federal court challenging

prison conditions. Thomas v. Woolum, 337 F.3d 720, 725 (6th Cir. 2003); Knuckles El v.

Toombs, 215 F.3d 640, 640 (6th Cir. 2000); Freeman, 196 F.3d at 645; Brown v. Toombs, 139

F.3d at 1103-04. In order to demonstrate that he or she has completely exhausted his or her

administrative remedies, a plaintiff must attach to the complaint in federal court a copy of the

administrative dispositions. Knuckles El, 215 F.3d at 640; Brown, 139 F.3d at 1104. If it does

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not appear that a plaintiff has completely exhausted his or her administrative remedies, the

federal court should dismiss the complaint without prejudice. Brown, 139 F.3d at 1104.

       The exhaustion requirement set forth in the PLRA applies only to claims challenging

“prison conditions.” However, the PLRA does not define “prison conditions.” Accordingly, the

Sixth Circuit held “that the scope of § 1997e(a)’s exhaustion requirement is determined by the

definition of a ‘civil action with respect to prison conditions’ as set forth in [42 U.S.C.] §

3626(g)(2).” Freeman, 196 F.3d at 644. That section, in turn, provides:

       The term “civil action with respect to prison conditions” means any civil
       proceeding arising under federal law with respect to the conditions of
       confinement or the effects of actions by government officials on the lives of
       persons confined in prison, but does not include habeas corpus proceedings
       challenging the fact or duration of confinement in prison.

42 U.S.C. § 3626(g)(2).

       In a related complaint filed by Richard Cooey and Adremy Dennis, this Court concluded

that the complaint filed by the plaintiffs challenging Ohio’s lethal injection protocol was an

action “with respect to prison conditions” within the meaning of 42 U.S.C. §§ 1997e(a) and

3626(g)(2), and that the plaintiffs had available to them under O.A.C. 5120-9-31 the prison

administrative remedy of a grievance filed directly with the Office of the Chief Inspector of the

Ohio Department of Rehabilitation and Correction. (Case No. 2:04-cv-532, Doc. #20.) The

Court went on to dismiss the complaint without prejudice, due to the plaintiffs’ failure to exhaust

the administrative remedies available to them.

       Cooey and Dennis subsequently exhausted their administrative remedies by filing

grievances directly to the Office of the Chief Inspector, and thereafter filed new complaints in

this Court (Case Nos. 2:04-cv-1156 and 2:04-cv-920, respectively). The Chief Inspector issued


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nearly identical decisions dismissing those grievances. Specifically, the decision in Cooey’s

case was as follows:

       The Office of the Chief Inspector is in receipt of your Notification of Grievance.
       In your grievance, you challenge the means by which lethal injection is conducted
       as it relates to an execution. You also challenge not being able to have your
       attorney present during the execution unless the attorney attends as one of the
       three witnesses you are allowed.

       In regards to witnesses this is controlled by statute, which is not within the control
       of the director or warden. O.R.C. 2949.25 states “only the following persons may
       be present:” It goes on to list the warden and any other person selected by the
       director to ensure that the death sentence is executed, the sheriff, the director or
       director’s agent, physicians, “the clergy person in attendance upon the prison, and
       not more than three other persons to be designated by the prisoner, who are not
       confined in any state institution;” not more than three persons to be designated by
       the immediate family of the victim, and representatives of the news media. Any
       prosecutor that is present would be a designee of the immediate family of the
       victim and one of their three permitted witnesses. Accordingly because there is
       no specific provision to permit your attorney to be present, your attorney can only
       attend as one of your designated witnesses.

       As it relates to the means used to carry out the lethal injection: DRC Policy #01-
       COM-11 states that it is the policy of the department to carry-out the process in a
       professional, humane, sensitive and dignified manner. Each person involved in
       administering the lethal injection is required to be appropriately qualified under
       Ohio law to perform the task they are required to perform i.e. administer
       medications, prepare the intravenous injection, etc. This policy and procedure
       was developed and designed based upon research and information received from
       various sources, including other states that perform lethal injections. It is also
       noted this matter is currently the subject of litigation, therefore a proper court of
       law will ultimately decide the legality of the methods used.

       This grievance is DISMISSED.

(Case No. 2:04-cv-1156, Doc. # 2-2, at 24.) Cooey’s action remains pending; he is the primary

named plaintiff in the action in which Lundgren seeks to intervene. Dennis’s action ultimately

was dismissed, following his execution. (Case No. 2:04-cv-920, Doc. # 25.)

       On November 23, 2005, this Court issued an order allowing John R. Hicks to intervene in


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the instant action. Hicks had asserted that exhaustion of his administrative remedies was futile,

but had in any event attempted to exhaust his remedies by the time he had sought to intervene.

Because he had received no response to his grievance despite the immediacy of his pending

execution date, the Court allowed his claim to proceed. (Case No. 2:04-cv-1156, Doc. # 35, at

7.) Ultimately, the Court concluded that Hicks was not entitled to a preliminary injunction

staying his execution, and he was dismissed as a party from this action on January 4, 2006,

following his execution. (Doc. # 34.)

       On January 9, 2006, this Court issued an order allowing Jeffrey D. Hill to intervene in the

instant action. (Doc. # 35.) Regarding the prerequisite of exhausting his available

administrative remedies, Hill averred in his proffered complaint that the requirement was

inapplicable to him because of the decision that had been issued by the Chief Inspector

dismissing Cooey’s grievance. (Id. at 4.) This Court agreed. Specifically, the Court concluded

that the Chief Inspector had provided no reason for denying Cooey’s grievance that spoke to the

core issue of his grievance: the protocol used in executing the inmate. (Id. at 5-6.) The Court

also concluded that the only portion of the Chief Inspector’s decision that did touch upon the

core issue amounted to a non-decision that effectively evaded the merits of the issue so long as

they were part of a litigation pending in federal court. (Id. at 6-7.) Ultimately, the Court

concluded “that based on the limited information in the record, Ohio does not–on the narrow

method-of-execution issue and at least during the litigation forming the captioned case–have an

‘available’ administrative grievance process as federal law requires.” (Id. at 8.) To be clear,

regarding Defendants’ argument that exhaustion of administrative remedies is mandatory, even if

it is a foregone conclusion that pursuit of those remedies will be futile, the Court concluded that


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the administrative remedy at issue was unavailable, not futile. (Id. at 7-8.)

       On June 16, 2006, this Court issued an order allowing Johnnie Baston and Arthur Tyler

to intervene in the instant action. (Doc. # 54.) Whether these parties had exhausted their

administrative remedies was not an issue, because Defendants raised no new arguments

concerning the exhaustion requirement following the conclusions this Court had reached as to

Hill. (Doc. # 50, at 3; Doc. # 51, at 3.)

       On August 21, 2006, Jerome Henderson filed a pro se motion to intervene in the instant

action. (Doc. # 60.) On September 8, 2006, Defendants filed a memorandum in opposition.

(Doc. # 68.) Henderson has not yet filed a reply. His motion to intervene remains pending.

       On September 1, 2006, Lundgren filed an emergency motion to intervene in the instant

action. (Doc. # 65.) Defendants filed a response in opposition on September 8, 2006. (Doc. #

69.) Lundgren filed a reply on September 14, 2006. (Doc. # 71.) This matter is now before the

Court on the question of whether Lundgren should be permitted to intervene. The Court is

constrained to answer that question in the negative.

       Regarding the mandatory pre-condition of complete exhaustion of administrative

remedies, Defendants argue in opposing Lundgren’s motion to intervene that, subsequent to this

Court’s conclusion as to Hill’s motion to intervene that administrative remedies were not

available on the narrow method-of-execution issue, “intervening changes in both law and the

facts warrant reconsideration of that position.” (Doc. # 69, at 3.) Specifically, Defendants note

that a decision issued by the Chief Inspector on June 23, 2006 dismissing the grievance filed by

Johnnie Baston conflicts with this Court’s prior interpretations, insofar as it directly addressed

the core issue of Baston’s grievance: the protocol used in executing the inmate. (Doc. # 69, at 4-


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5.) Defendants assert that “[t]here is now evidence then that the administrative review process is

an available remedy.” (Id. at 5.) The Court agrees.

       A review of the Decision of the Chief Inspector as to Johnnie Baston’s grievance (Doc. #

69) reveals a one-hundred-eighty-degree turn on the part of the Chief Inspector with respect to

addressing the core issue of grievances challenging the protocol used in executing the inmate. In

dismissing the grievances filed by Cooey and Dennis, the Chief Inspector did not provide a

reason that spoke to the core issue of the grievance; rather, the Chief Inspector simply noted the

policy underlying executions in Ohio, the qualifications of the people involved, and the

development of the policy. (See Doc. # 35, at 5-6.) To the extent that the Chief Inspector did

touch upon the core issue of the grievance, he “punted the issue to the judicial branch” (Doc. #

35, at 6), thereby serving notice, in this Court’s view, that the administrative remedy was

unavailable during the pendency of this litigation on the specific method-of-execution claim

involved here. The decision issued by the Chief Inspector dismissing Johnnie Baston’s

grievance, on the other hand, addressed the core issue head on. Citing an affidavit by Dr. Mark

Dershwitz, the Chief Inspector concluded, among other things, that “[t]o the extent that your

grievance alleges that the department’s method of execution will result in unnecessary pain and

suffering, your allegation is without merit and your grievance must be denied.” (Doc. # 69-2, at

2.) That being the case, the Court is constrained to find that, as to Jeffrey Don Lundgren, the

administrative remedy of a grievance directly to the Office of the Chief Inspector pursuant to

O.A.C. 5120-9-31 is an available remedy within the meaning PLRA. See 42 U.S.C. § 1997e(a).

       The Court’s conclusion in this regard does not reach back retroactively to plaintiffs Hill,

Baston, or Tyler. The limited information available to the Court at the time they filed their


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motions to intervene demonstrated that Ohio did not have an available administrative grievance

process on the narrow method-of-execution issue and at least during the litigation forming the

captioned case. That the landscape in this regard has now apparently changed does not and

should not impact Hill, Baston, or Tyler.

       In sum, the Court is constrained to deny Lundgren’s emergency motion to intervene

(Doc. # 65-1), without prejudice, due to Lundgren’s failure to exhaust administrative remedies

available to him in violation of 42 U.S.C. § 1997e(a). Because the Court is denying Lundgren’s

motion on the basis of his failure to exhaust administrative remedies, the Court need not address

Defendants’ additional arguments against allowing Lundgren to intervene.

       In his reply, Lundgren states that “[s]teps are being taken to exhaust [administrative]

remedies however, it is imperative that a stay be granted and the ultimate sentence held in

abeyance pending the grievance process exhaustion.” (Doc. # 71.) There is no motion before

the Court for a preliminary injunction to stay Lundgren’s execution. Assuming that Lundgren

intends to exhaust his administrative remedies and attempt to intervene in this action following

complete exhaustion, he is advised that, in addition to filing any motion to intervene in this

action, he must also file a separate motion for a preliminary injunction to stay his execution.

       The Court hastens to add what should be readily apparent to all parties involved: Time is

of the essence. Lundgren faces an execution date of October 24, 2006. Lundgren can do his part

by taking the necessary steps to promptly and properly pursue his administrative remedies, steps

that he avers are already being taken. The Court can only hope that prison officials will do their

part by taking prompt action on any administrative grievance filed by Lundgren.




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                                     II. Conclusion

     For the foregoing reasons, Jeffrey Don Lundgren’s emergency motion to intervene is

DENIED WITHOUT PREJUDICE. (Doc. # 65-1.)

     IT IS SO ORDERED.

                                                  /s/ Gregory L. Frost
                                                GREGORY L. FROST
                                                UNITED STATES DISTRICT JUDGE




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